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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


          Everett McKinley Dirksen
                                                                                    Office of the Clerk
          United States Courthouse
                                                                                   Phone: (312) 435-5850
       Room 2722 - 219 S. Dearborn Street
                                                                                   www.ca7.uscourts.gov
            Chicago, Illinois 60604




  March 18, 2025

  By the Court:

                                       HEIDI DAVONNE BROWN,
                                                Plaintiff - Appellant

  No. 25-1167                          v.

                                       IVY TECH COMMUNITY COLLEGE,
                                                Defendant - Appellee
  Originating Case Information:
  District Court No: 3:24-cv-00953-DRL-SJF
  Northern District of Indiana, South Bend Division
  District Judge Damon R. Leichty


  Pursuant to Circuit Rule 3(c), a Docketing Statement must be filed within seven (7) days of the
  filing of the notice of appeal. The appellant failed to do so. The court issued a show cause order
  directing that the appellant file a Docketing Statement within fourteen (14) days of the date of
  the order or face a fine and/or dismissal of the appeal. To date, the appellant has not filed the
  required Docketing Statement.

  IT IS ORDERED that this cause is DISMISSED for failure to comply with Circuit Rule 3(c).


  form name: c7_FinalOrderWMandate          (form ID: 137)
